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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In Re:                                           )    Chapter 13
Kenneth Gregory Cook                             )    Case No. 18-53572-PMB
                                                 )    Judge Paul M. Baisier
                                                 )

                             NOTICE OF APPEARANCE AND
                           REQUEST FOR SERVICE OF PAPERS

       Pursuant to Bankruptcy Rules 2002 and 9010, the undersigned attorney enters this Notice
of Appearance on behalf of CARRINGTON MORTGAGE SERVICES, LLC, its successors or
assigns (hereinafter referred to as “Creditor”), a secured creditor in the above referenced case on
real property located at 5771 Southland Walk, Stone Mountain, GA 30087. Creditor, through
counsel, hereby requests that all notices to Debtor(s) or Creditors also be mailed in care of
Creditor as follows:
                              Shapiro Pendergast & Hasty, LLP
                              211 Perimeter Center Parkway, N.E., Suite 300
                              Atlanta, GA 30346


Date: March 6, 2018                                   Shapiro Pendergast & Hasty, LLP

                                                      /s/ Lucretia L. Scruggs
                                                      Lucretia L. Scruggs
                                                      Georgia Bar No. 371008
                                                      211 Perimeter Center Parkway, NE
                                                      Suite 300
                                                      Atlanta, GA 30346
                                                      Phone: 770-220-2535
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